      Case 17-11306-CMB                        Doc 118         Filed 01/31/23 Entered 01/31/23 12:38:02                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              BRIAN M. HECKMAN


     Debtor 2              JESSE D. HECKMAN
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-11306CMB




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 PNC BANK NA                                                                       4

 Last 4 digits of any number you use to identify the debtor's account                         9   4   4   0

 Property Address:                             326 SUTTON ST
                                               PUNXSUTAWNEY PA 15767




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        3,819.30

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        3,819.30

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        3,819.30



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $610.60
         The next postpetition payment is due on                 2 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     BRIAN M. HECKMAN                                                 Case number   (if known)   17-11306CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    01/31/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     BRIAN M. HECKMAN                                         Case number   (if known)   17-11306CMB
             Name




                                            Disbursement History

Date         Check #    Name                                Posting Type                                             Amount
MORTGAGE ARR. (Part 2 (b))
04/26/2022   1232162    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                            977.64
05/25/2022   1235205    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                            646.31
06/27/2022   1238228    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                          1,041.58
07/26/2022   1241164    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                            221.98
08/24/2022   1244047    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                            931.79
                                                                                                                   3,819.30

MORTGAGE REGULAR PAYMENT (Part 3)
03/28/2018   1074836    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,356.62
04/24/2018   1078083    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             494.25
05/25/2018   1081359    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             494.15
06/22/2018   1084478    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             370.46
07/26/2018   1087724    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             617.17
08/28/2018   1090943    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             382.65
09/25/2018   1094076    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             259.16
10/29/2018   1097322    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             380.34
11/27/2018   1100442    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             520.78
12/21/2018   1103544    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             538.57
01/25/2019   1106785    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             685.25
02/25/2019   1110026    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             277.23
03/25/2019   1113311    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             840.98
04/26/2019   1116629    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             771.12
05/24/2019   1120018    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             629.71
06/25/2019   1123436    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             641.32
07/29/2019   1126873    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             830.45
08/27/2019   1130357    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             665.81
09/24/2019   1133620    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             495.43
10/24/2019   1136996    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,009.49
11/25/2019   1140453    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             678.57
12/23/2019   1143846    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             728.16
01/28/2020   1147307    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             779.24
02/25/2020   1150832    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,174.87
03/23/2020   1154315    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             393.62
04/27/2020   1157761    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,306.58
05/26/2020   1161096    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             854.72
06/26/2020   1164258    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             937.48
07/29/2020   1167351    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,055.93
08/25/2020   1170429    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             881.73
09/28/2020   1173531    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             893.46
10/26/2020   1176618    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             911.36
11/24/2020   1179687    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             915.08
12/21/2020   1182626    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             652.21
01/25/2021   1185617    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,375.62
02/22/2021   1188739    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             903.04
03/26/2021   1192048    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,158.50
04/26/2021   1195283    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             632.34
05/25/2021   1198394    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             880.16
06/25/2021   1201581    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             621.74
07/26/2021   1204782    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             749.77
08/26/2021   1207930    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             601.21
09/24/2021   1211030    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             846.89
10/25/2021   1214106    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             592.23
11/22/2021   1217142    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             596.63
12/23/2021   1220217    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,152.95
01/26/2022   1223280    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                           1,146.48
02/23/2022   1226152    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             918.92
03/25/2022   1229124    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             950.50
04/26/2022   1232162    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             659.01
05/25/2022   1235205    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             602.41
06/27/2022   1238228    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             602.41
07/26/2022   1241164    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             602.41
08/24/2022   1244047    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             602.41
09/27/2022   1246929    PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             602.41

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Debtor 1     BRIAN M. HECKMAN                                         Case number   (if known)   17-11306CMB
             Name




                                            Disbursement History

Date         Check #    Name                                Posting Type                                             Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
10/25/2022 1249730      PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             602.41
11/23/2022 1252523      PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             610.60
12/22/2022 1255264      PNC BANK NA                         AMOUNTS DISBURSED TO CREDITOR                             610.60
                                                                                                                   43,045.60




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

BRIAN M. HECKMAN
JESSE D. HECKMAN
326 SUTTON STREET
PUNXSUTAWNEY, PA 15767

KENNETH P SEITZ ESQ
LAW OFFICES OF KENNY P SEITZ
POB 211
LIGONIER, PA 15658

PNC BANK NA
3232 NEWMARK DR
MIAMISBURG, OH 45342

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




1/31/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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